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                    UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                        FORT WORTH DIVISION

     OUTSOURCING FACILITIES
     ASSOCIATION, ET AL.,

          Plaintiffs,

     v.                                                   No. 4:24-cv-00953-P

     UNITED STATES FOOD AND DRUG
     ADMINISTRATION, ET AL.,

          Defendants.
                                     ORDER
        Before the Court is the Parties’ Joint Motion for Extension of Time
     to File Answer and for Scheduling Order. ECF No. 79. The Court has
     considered the motion in light of the governing standard and finds that
     it should be and hereby is GRANTED. It is hereby ORDERED that
     Defendants’ deadline to respond to the complaint is extended until after
     the Court has ruled on the parties’ forthcoming dispositive summary
     judgment motions. It is further ORDERED that regarding Plaintiffs’
     preliminary injunction motion, any person seeking leave to file an
     amicus brief in support of Plaintiffs must do so by filing a motion under
     L.R. 7.2(b) on or before February 11, 2025, and any person seeking
     leave to file an amicus brief in support of Defendants must do so by filing
     a motion under L.R. 7.2(b) on or before February 18, 2025.

          SO ORDERED on this 11th day of February 2025.
